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Attorneys for Crossdefendant
ABIGAIL GAURINO

               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF HAWAI‘I

ATOOI ALOHA, LLC, an[sic] Nevada )         Civil No. 16-00347 JMS - RLP
Limited Liability Company, CRAIG B. )
STANLEY, as TRUSTEE for THE         )      CERTIFICATE OF SERVICE
EDMON KELLER AND CLEAVETTE )               RE: ABNER GAURINO, AURORA
MAE STANLEY FAMILY TRUST;           )      GAURINO AND ABIGAIL
CRAIG B. STANLEY, individually;     )      GAURINO’S RESPONSES TO
MILLICENT ANDRADE, individually, )         PLAINTIFFS ATOOI ALOHA,
                                    )      LLC, CRAIG B. STANLEY, AS
                   Plaintiffs,      )      TRUSTEE FOR THE EDMON
                                    )      KELLER AND CLEAVETTE MAE
            vs.                     )      STANLEY FAMILY TRUST;
                                    )      CRAIG B. STANLEY AND
ABNER GAURINO, AURORA               )      MILLICENT ANDRADE’S FIRST
GAURINO, ABIGAIL GAURINO,           )      REQUESTS FOR PRODUCTION
INVESTORS FUNDING                   )      OF DOCUMENTS, DATED
CORPORATION, as Trustee for an      )      AUGUST 11, 2017
unrecorded Loan Participation       )       (Caption continued on next page)
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Agreement dated June 30, 2014;          )
APT-320, LLC, a Hawai‘i Limited         )
Liability Company, CRISTETA C.          )
OWAN, an individual; ROMMEL             )
GUZMAN; FIDELITY NATIONAL               )
TITLE & ESCROW OF HAWAI‘I and           )
DOES 1-100 Inclusive,                   )
                                        )
                   Defendants           )
                                        )

                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 29, 2017 an original and copy of
the Gaurino Defendants’ Responses to Plaintiffs Atooi Aloha, LLC, Craig B.
Stanley, as Trustee for The Edmon Keller And Cleavette Mae Stanley Family
Trust, Craig B. Stanley and Millicent Andrade’s First Requests for Production of
Documents, Dated August 11, 2017 were mailed first class, postage prepaid or via
email to the following:
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as Trustee for The Edmon Keller and
Cleavette Mae Stanley Family Trust;
CRAIG B. STANLEY, Individually; and
MILLICENT ANDRADE, Individually
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CRISTETA C. OWAN

      Dated: Honolulu, Hawai‘i, October 9, 2017.
                                           /s/ John R. Remis, Jr.
                                           John R. Remis, Jr.
                                           Robert D. Eheler, Jr.
                                           Attorneys for Gaurino Defendants
